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                     EXHIBIT 5
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  From: McLaughlin, Kelly (contr-i2o) Kelly.McLaughlin.ctr@darpa.mil
Subject: RE: Clarifications about pre pub review of unclassified work
   Date: November 16, 2016 at 2:09 PM
     To: Manos Antonakakis manos@gatech.edu, Williams, Ashley Ashley.Williams@osp.gatech.edu
    Cc: Keromytis, Angelos angelos.keromytis@darpa.mil, GAMBINO, DANIELLE M CIV USAF AFMC AFRL/RIGB
         danielle.gambino@us.af.mil, Patel, Tejas (contr-i2o) tejas.patel.ctr@darpa.mil

      Manos/Ashley,

      I misspoke, I meant to write all subs under GTRC (Georgia Tech (Not GTRI), UNC, UGA) are considered fundamental research as they are
      funded with 6.2 funds.

      Thanks,
      Kelly

      -----Original Message-----
      From: McLaughlin, Kelly (contr-i2o)
      Sent: Wednesday, November 16, 2016 1:42 PM
      To: 'Manos Antonakakis' <manos@gatech.edu>; Williams, Ashley <Ashley.Williams@osp.gatech.edu>
      Cc: Keromytis, Angelos <angelos.keromytis@darpa.mil>; GAMBINO, DANIELLE M CIV USAF AFMC AFRL/RIGB
      <danielle.gambino@us.af.mil>; Patel, Tejas (contr-i2o) <tejas.patel.ctr@darpa.mil>
      Subject: RE: Clarifications about pre pub review of unclassified work

      Manos/Ashley,

      All subs under GTRC (GTRI, UNC, UGA) are considered fundamental research as they are funded with 6.2 funds. Fundamental research
      has no publication restrictions. See the attached DoD Memo and text below.

      Please note that GTRC is not considered fundamental research as it is not a university. The DD254 only applies to GTRC and does not flow
      down to any of the subs.

      The definition of "contracted fundamental research" in a DoD grant or contractual context is established by References (a) and (b) and is
      defined as follows: "'Contracted Fundamental Research' includes research performed under grants and contracts that are (a) funded by
      budget Category 6.1 ("Research"), whether performed by universities or industry or (b) funded by budget Category 6.2 ("Exploratory
      Development") and performed on-campus at a university. The research shall not be considered fundamental in those rare and exceptional
      circumstances where the 6.2- funded effort presents a high likelihood of disclosing performance characteristics of military systems or
      manufacturing technologies that are unique and critical to defense, and where agreement on restrictions have been recorded in the contract
      or grant."

      Please let me know if you have any questions. Feel free to give me a call - 571-218-4450.

      Thanks,
      Kelly


      Kelly McLaughlin
      SETA support for DARPA/I2O
      XPD Analytics
      (571) 218-4450 (o)
      (571) 218-7116 (c)

      -----Original Message-----
      From: antonakakis@gmail.com [mailto:antonakakis@gmail.com] On Behalf Of Manos Antonakakis
      Sent: Wednesday, November 16, 2016 1:31 PM
      To: McLaughlin, Kelly (contr-i2o) <Kelly.McLaughlin.ctr@darpa.mil>; Williams, Ashley <Ashley.Williams@osp.gatech.edu>
      Cc: Keromytis, Angelos <angelos.keromytis@darpa.mil>
      Subject: Clarifications about pre pub review of unclassified work

      Hey Kelly,

      Can you please verify to Ashley that the unclassified work GT is planning to do is not subject of a pre pub rule? Ashley, you can call Ashley
      up on the following numbers and resolve the issue with the DD
      254 form.
      Kelly McLaughlin
      SETA support for DARPA/I2O
      XPD Analytics
      (571) 218-4450 (o)
      (571) 218-7116 (c)

      Thanks,

      Manos
